Case 9:20-md-02924-RLR Document 2667 Entered on FLSD Docket 01/27/2021 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

   IN RE: ZANTAC (RANITIDINE)                                                       MDL NO 2924
   PRODUCTS LIABILITY                                                                20-MD-2924
   LITIGATION
                                                          JUDGE ROBIN L ROSENBERG
                                                  MAGISTRATE JUDGE BRUCE REINHART
   __________________________________/

   THIS DOCUMENT RELATES TO:
   MARILYN WILLIAMS
   CASE NO. 9:20-CV-80512

    Marilyn Williams, Plaintiff

           v.
                                                               Notice of Appeal
    Boehringer Ingelheim Pharmaceuticals, Inc.,
    Boehringer Ingelheim USA Corporation,
    Walgreens Boot Alliance, Inc., Defendants


          Notice is hereby given that Marilyn Williams, plaintiff in the above named case, hereby
   appeals to the United States Court of Appeals for the Eleventh Circuit from D.E. 2532, 2512, and
   2513, Orders granting Defendants’ Motions to Dismiss on preemption grounds, the last of which
   was entered in this action on the 8th day of January, 2021.
          These Orders were made final with respect to Plaintiff Marilyn Williams on the 27th day
   of January, 2021, when Plaintiff amended her Short Form Complaint to eliminate all claims for
   which repleading was permitted by the Court’s Orders.
    DATED: January 27, 2021.                          Respectfully submitted,
                                                      /s/Ashley Keller
                                                      Ashley Keller
                                                      KELLER LENKNER LLC
                                                      150 N. Riverside Plaza, Suite 4270
                                                      Chicago, IL 60606
                                                      Tel: (312) 741-5220

                                                      Counsel for Plaintiff–Appellant




                                                  1
Case 9:20-md-02924-RLR Document 2667 Entered on FLSD Docket 01/27/2021 Page 2 of 2




                                   CERTIFICATE OF SERVICE

          I hereby certify that on January 27, 2021, I electronically filed the foregoing document

   with the Clerk of the Court using CM/ECF and that the foregoing document is being served on all

   counsel of record or parties registered to receive CM/ECF Electronic Filings.


                                                               /s/Ashley Keller
                                                              Ashley Keller




                                                   2
